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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 218: STAY
                                                     AND TOLLING OF DEADLINES
   ALL CASES




       The Court is in receipt of an inquiry from counsel for a plaintiff whose case was recently

transferred into the MDL. The question is whether the stay operates to toll the deadline for filing

a motion to remand to state court. The answer is yes. The deadline for all filings is tolled so long

as the stay is in place. As discussed at the most recent case management conference, the stay

could last until November 2, 2020, or it could be lifted earlier, and it is counsel’s obligation to

track developments with respect to the stay.


       IT IS SO ORDERED.

Dated: September 4, 2020
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
